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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION

 MEMBERS HERITAGE CREDIT UNION, INC.                   )          Case No.: 5:21-cv-00207-CHB
                                                       )
                                PLAINTIFF              )
                                                       )
 vs.                                                   )
                                                       )
 NEW YORK MARINE & GENERAL                             )
 INSURANCE COMPANY, PROSIGHT                           )
 SPECIALTY MANAGEMENT CO., INC.,                       )
 AND PROSIGHT SPECIALITY INSURANCE                     )
 COMPANY                                               )
                                                       )
                                DEFENDANTS             )

                                      NOTICE OF SERVICE

        Notice is given that the Plaintiff, Members Heritage Credit Union, Inc., by counsel,

 pursuant to Rule 26 (a)(1), served its Initial Disclosures on this the 12th day of October, 2021.

                                                       Respectfully Submitted,


                                                       REINHARDT & ASSOCIATES, PLC

                                                       /s/ R. Craig Reinhardt
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                                                       ATTORNEY FOR PLAINTIFF
Case: 5:21-cv-00207-CHB-MAS Doc #: 17 Filed: 10/12/21 Page: 2 of 2 - Page ID#: 218




                                          CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2021, I electronically filed the foregoing with the clerk
 of the court by using the CM/ECF system. I further certify that I mailed the foregoing by first
 class mail to the following:


  Gene F. Zipperle, Jr., Esq.                                     Joseph A. Nilan, Esq.
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  ATTORNEY FOR DEFENDANTS                                         100 Washington Avenue South, Suite 1550
                                                                  Minneapolis, MN 55401
                                                                  ATTORNEY FOR DEFENDANTS


                                                                    /s/ R. Craig Reinhardt
                                                                    ATTORNEY FOR PLAINTIFF

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